Case 1:22-cr-00396-PKC Document 96-1 Filed 06/17/23 Page 1 of 2

Court Subpoena

WMnited States District Court

SOUTHERN DISTRICT OF NEW YORK

TO: — Brijesh Goel

GREETINGS:

WE COMMAND YOU that all and singular business and excuses being laid aside, you appear and attend
before the United States District Court for the Southern District of New York, 500 Pearl Street, in the
Borough of Manhattan, City of New York, New York, in the Southern District of New York, at the

following date, time and place:

Appearance Date: June 12, 2023 Appearance Time: 10:00 am
Appearance Place: Courtroom 11D - Hon. P. Kevin Castel

to testify and give evidence in the following matter:
United States v. Brijesh Goel, 22 Cr. 396 (PKC)

and not to depart the Court without leave thereof, or of the United States Attorney, and that you bring
with you and produce at the above time and place the following:

If, as, and when the defendant elects to testify, the Government requests
production of the materials set forth in the attached rider.

Failure to attend and produce any items hereby demanded will constitute contempt of court and will
subject you to civil sanctions and criminal penalties, in addition to other penalties of the Law.

DATED: New York, New York
June 10, 2023

Dorin Willer
DAMIAN WILLIA
United States Attorney for the
Southern District of New York

J.Naftalis/S.Rothschild/A.Thomas

Assistant United States Attorney
One St. Andrew’s Plaza

New York, New York 10007
Telephone: 212-637-2310
joshua.naftalis@usdoj.gov

 

rev. 02.01.12

 
Case 1:22-cr-00396-PKC Document 96-1 Filed 06/17/23 Page 2 of 2

Rider

For the time period January 1, 2017 through the present (unless otherwise noted), please produce all
documents, communications, recordings, and objects in your possession, custody, or control relating to:

1.

2.

3.

Akshay Niranjan, including communications that were deleted.
The transfer or loan of money to Penal Desai between August 1, 2021 and the present.

The allegations of insider trading and obstruction of justice contained in Indictment 22 Cr. 396
(PKC).

Communications with, or pertaining to, any of the individuals for whom the Government has
produced material pursuant to 18 U.S.C. § 3500 in connection with the trial in this case, which is
scheduled to begin on June 12, 2023.

Communications between you and any other individual (aside from your counsel or individuals
working for your counsel) relating to your trial in this case, which is scheduled to begin on June
12, 2023.

 
